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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 MARC ROVNER, Individually and on Behalf             )
 of All Others Similarly Situated,                   )
                                                     )
                              Plaintiff,             ) Case No. 4:14-cv-03416
                                                     )
        vs.                                          )
                                                     ) CLASS ACTION
 BAKER HUGHES INCORPORATED,                          )
 CLARENCE P. CAZALOT, JR., MARTIN S.                 )
 CRAIGHEAD, LYNN L. ELSENHANS,                       )
 ANTHONY G. FERNANDES, CLAIRE W.                     )
 GARGALLI, PIERRE H. JUNGELS, JAMES                  )
 A. LASH, J. LARRY NICHOLS, JAMES W.                 )
 STEWART, CHARLES L. WATSON,                         )
 GREGORY BRENNEMAN, WILLIAM H.                       )
 EASTER III, HALLIBURTON COMPANY,                    )
 and RED TIGER LLC,                                  )
                                                     )
                              Defendants.            )


                          NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE THAT pursuant to Rule 41(a) of the Federal Rules of Civil

Procedure, Plaintiff Marc Rovner hereby voluntarily dismisses this action in its entirety without

prejudice.

Dated: March 20, 2015                             Respectfully submitted,

                                                  /s/ William B. Federman
                                                  William B. Federman
                                                  TX Bar No. 00794935 / SDTX Bar No. 21540
                                                  FEDERMAN & SHERWOOD
                                                  10205 N. Pennsylvania Avenue
                                                  Oklahoma City, OK 73120
                                                  405-235-1560
                                                  405-239-2112 facsimile
                                                  - and -
                                                  2926 Maple Avenue, Suite 200
                                                  Dallas, TX 75201
                                                  Attorneys for Plaintiff


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                                CERTIFICATE OF SERVICE

       This is to certify that on March 20, 2015, a true and correct copy of the foregoing document

was served by CM/ECF to the parties registered to the Court’s CM/ECF system.



                                                     /s/ William B. Federman




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